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                            UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA


ESROM DEMEKE                                                         CIVIL ACTION

VERSUS                                                               NO. 19-114-BAJ-RLB

BOARD OF SUPERVISORS OF
LOUISIANA STATE UNIVERSITY
AND A&M COLLEGE, ET AL.

                                             ORDER

       This Order is issued sua sponte. Plaintiff initiated this action on February 22, 2019,

against the Board of Supervisors of Louisiana State University and A&M College and other

defendants. In addition, Plaintiff filed a motion to proceed in forma pauperis. (R. Doc. 2). On

March 8, 2019, the Court issued an order granting the motion to proceed in forma pauperis. (R.

Doc. 5). In the Court’s order (R. Doc. 5), the Court ordered that “The Clerk shall file said

complaint without prepayment of costs or security thereof. Plaintiff is responsible for submitting

the summons with the address of the defendant(s). Upon plaintiff submitting the summons with

the address for the defendant(s), the Clerk is directed to issue process to the defendant(s). The

United States Marshals Service shall serve the summons and complaint on the defendant(s)

wherever found. Plaintiff(s) will be required to provide to the United States Marshal a

completed U.S. Marshal Form 285 for each defendant to be served. The United States Marshal

will not serve the defendant without a properly completed form.”

       A review of the Court’s Docket Sheet reflects that there are no service returns in the

record for the defendants. In addition, the Court has been notified by the United States Marshal

that Plaintiff has not submitted a completed U.S. Marshal Form 285 for each of the defendants to

be served. Based on the foregoing,
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       IT IS ORDERED that Plaintiff is again notified that he is responsible for providing “to

the United States Marshal a completed U.S. Marshal Form 285 for each defendant to be served.

The United States Marshal will not serve the defendant without a properly completed form.”

Plaintiff is informed that a failure to serve the defendants within the time allowed by Fed. R. Civ.

P. Rule 4(m) may result in a recommendation of dismissal of his claims against the defendants.

       Signed in Baton Rouge, Louisiana, on May 2, 2019.




                                              S
                                              RICHARD L. BOURGEOIS, JR.
                                              UNITED STATES MAGISTRATE JUDGE
